            Case 4:22-cv-02001-JSW Document 2 Filed 03/29/22 Page 1 of 4


                                                                                               Clear Form
   1
   2                                                                          FL .D
   3
                                                                             MAR 29 2022
   4
                                                                      CLERK� us··
   5                                                                NORTH 01srFil�STR1cr COUPT
                                                                                   OF CAL.iFOf-iNI
                                                                                                   A
   6

   7
   8                              UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
   9
                                                      )       cv22                         20 0 1 ·
;::
                                                      )
                                                      )
                                       Plaintiff,     ) CASE NO. _________
                                                      )
                                                      ) APPLICATION TO PROCEED
  12
  13   Q�
               vs.

                     of Sn V
                            (\I\'\   AA,Q{__        Wi
                                                        IN FORMA PAUPERIS
                                                  I   �  (Non-prisoner cases only)
  14             Defendant. )
       ---------------.----)
  15
  16           I� /"IV          \\e,\\   "'-cJ    , declare, under pemlty of perjury that I am the plaintiff
  17   in the above entitled case and that the information I offer throughout this application is true and
  18   correct. I offer this application in support of my request to proceed without being required to
  19   prepay the full amount of fees, costs or give security. I state that because of my poverty I am
  20   unable to pay the costs of this action or give security, and that I believe that I am entitled to relief.
  21           In support of this application, I provide the following information:
                                                                                            /
  22   1.      Are you presently employed?                             Yes __ No_✓_
  23   If your answer is "yes," state both your gross and net salary or wages per month, and give the
  24   name and address of your employer:
  25   Gross: ------------ Net: ---------------

  26   Employer: ____________________________
  27
  28   If the answer is "no," state the date of last employment and the amount of the gross and net salary


                                                   -1-
           Case 4:22-cv-02001-JSW Document 2 Filed 03/29/22 Page 2 of 4



 1   and wages per month which you received.
2
3

4
5    2.      Have you received, within the past twelve ( 1 2) months, any money from any of the

6    following sources:
7            a.     Business, Profession or                      Yes       No/

 8                  self employment?

 9           b.     Income from stocks, bonds,                   Yes       No/
10                  or royalties?
11           C.     Rent payments?                               Yes
12           d.     Pensions, annuities, or                      Yes __ No-tL

13                  life insurance payments?
14           e.     Federal or State welfare payments,           YesL No __
15                  Social Security or other govem-

16                  ment source?
17   I f the answer is "yes" to any of the above, describe each source of money and state the amount
18   received from each.
19        �t\ -'� \ �
20
21   3.      Are you married?                                    Yes       No   7
22   Spouse's Full Name: __________________________

23   Spouse's Place of Employment: ______________________
24   Spouse's Monthly Salary, Wages or Income:
25   Gross $-- ---------- Net$------- ---------
26   4.      a.     List amount you contribute to your spouse's support:$ _________
27           b.     List the persons other than your spouse who are dependent upon you for support
28                  and indicate how much you contribute toward their support. (NOTE: For minor


                                               -2-
          Case 4:22-cv-02001-JSW Document 2 Filed 03/29/22 Page 3 of 4



 1                    children, list only their initials and ages. DO NOT INCLUDE THEIR NAMES.)
2
3
4    5.     Do you own or are you buying a home?                  Yes      No._,,/'
5    Estimated Market Value:$ _____ Amount of Mortgage:$_______

6    6.     Do you own an automobile?                             Yes      No�

7    Make                            Year ______ Model _______ ___
8    Is it financed? Yes        No            If so, Total due: $ ________ ___
9    Monthly Payment: $
10   7.     Do you have a bank account? Yes __ No /(Do not include account numbers.)

11   Name(s) and address(es) of bank: _________________ __
12

13   Present balance(s):$ ___________________ ____
14   Do you own any cash? Yes __ No.✓ Amount:$ ____________
15   Do you have any other assets? (If "yes," provide a description of each asset and its estimated
16   market value.)                                                      Yes __ No�
17
18   8.     What are your monthly expenses?
19   Rent: $    /                                  Utilities:    L
                                                                --- -=----------
20   Food: $ __    _________ Clothing: --;er_·_________
                   ff
21   Charge Accounts:

22   Name of Account                    Monthly Payment                  Total Owed on This Account
23                                  $ ________ $ ______

24                                  $                                   $-�------
25                                  $                                   $______
26   9.     Do you have any other debts? (List current obligations, indicating amounts and to whom
27   they are payable. Do not i    de "{fJm;;;umbers.)
                                  ,
28


                                                -3-
           Case 4:22-cv-02001-JSW Document 2 Filed 03/29/22 Page 4 of 4



 1
 2   10.     Does the complaint whic y u are seeking to file raise claims that have been presented in
                                    7
 3   other lawsuits? Yes __ No __
 4   Please list the case name(s) and number(s) of the prior lawsuit(s), and the name of the court in
 5   which they were filed.
 6
 7
 8   I declare under the penalty of perjury that the foregoing is true and correct and understand that a
 9   false statement herein may result in the dismissal of my claims.
10

11
12           DATE
13
14
15
16
17
18
19
20
21
22

23
24
25
26
27
28


                                               -4-
